                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )       Case No. DNCW3:09CR211-3
               vs.                                   )       (Financial Litigation Unit)
                                                     )
MITCHELL KEITH KLEINMAN.                             )

                                      WRIT OF EXECUTION

TO ALLIANT CREDIT UNION:

       A judgment was entered on January 12, 2011, in the United States District Court for the

Western District of North Carolina, in favor of the United States of America and against the

defendant, Mitchell Keith Kleinman, whose last known address is XXXXXXXXXXXXXXX,

Newport Beach, CA, 92660, in the sum of $2,202,079.40. The balance on the account as of May

18, 2011, is $2,123,637.52.

       THEREFORE, YOU ARE HEREBY COMMANDED to levy and/or execute on property

and Alliant Credit Union is commanded to turn over property in which the defendant, Mitchell

Keith Kleinman, has a substantial nonexempt interest, the said property being funds located in

Alliant Credit Union accounts including, but not limited to, checking accounts, savings accounts and

Individual Retirement Accounts (IRAs), in the name of Mitchell Keith Kleinman, at the following

address: Alliant Credit Union, PO Box 66945, Chicago, IL 60666, Attention: Special Services

Department.


                                                 Signed: May 24, 2011




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